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 THE HOMESOURCE, CORP.                                                                )             Case No. 1:18-cv-11970
                                                                                      )
                                                Plaintiffs,                           )
                                                                                      )
                          vs.                                                         )
                                                                                      )
 RETAILER WEB SERVICES, LLC and                                                       )
 JOHN DOES 1-3,                                                                       )
                            Defendants.                                               )
 _________________________________________)



             Supplemental Declaration of Jennifer L. Bayuk, Ph.D.
                                                         March 11, 2019
 On November 2, 2018, I was engaged in this matter on behalf of Retailer Web Services, LLC,
 (“RWS”) as a computer security expert to opine on The HomeSource Corp.’s (“HomeSource”)
 allegations in this case, which includes conducting an examination of HomeSource’s evidence.
 My expertise in cybersecurity investigations began in the 1990s when I was a member of
 technical staff at Bell Laboratories. I was in a network security development group and was
 asked to advise Corporate Security on investigations that involved computers. Over the years, I
 accumulated investigation experience in various information security job functions, most
 prominently as Chief Information Security Officer for a major Wall Street firm. In that role, and
 several others, I was also responsible for systems security architecture, and I have designed
 detection, response, and recovery processes for multiple systems architectures, including
 architecture very similar to that operated by HomeSource. As an independent consultant, I
 leveraged my experience in conducting computer security investigations to earn a NJ Private
 Investigator’s license. I also teach cybersecurity at the graduate level and wrote a textbook on
 CyberForensics. A full resume is in Attachment E of this declaration.

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 A. Background
 1. This declaration is submitted in response to a letter submitted by HomeSource on February
    13, 2019 (Doc. No. 56) (“Letter”).
 2. I have reviewed the first and second amended complaints (Doc. No 12, Doc. No. 54-2) and
    HomeSource’s discovery responses, including its responses to requests for admissions. I have
    actively participated in multiple meetings and email discussions in an attempt to identify and
    examine evidence in this case, as described in my previous declaration, Doc. No. 50-2
    (“Declaration”). As I mentioned in that document, “Instead of examining evidence, I have
    primarily been so far engaged in coming to an agreement on the creation of a protocol by
    which both sides will share evidence and agree on the integrity of the output of a search.”
    This statement remains true, as do all other statements in my Declaration.
 3. The Letter contains a heading: “RWS’s Expert Cannot Understand the Search Results
    without Obtaining Additional Information from HomeSource.” (Doc. No. 56, PageID: 698.)
    This statement is capitalized for emphasis, as if communicating new information. In fact, it is
    trivially true. It is true because HomeSource has provided no description of its system of
    interest, but nevertheless has presented strings of characters that HomeSource claims are
    results of searches of logs from a system that has allegedly been attacked. “System of
    interest” is a term that system engineers use to distinguish a given system from all others
    with which it may be confused. A system of interest is defined by its distinguishing
    characteristics, i.e., what makes it recognizable to an outsider. To date, I have been provided
    with no information from HomeSource that would distinguish its system that was allegedly
    attacked from any other eCommerce system that utilizes Amazon Web Services.
 B. Industry Standards for Cybersecurity Investigations
 4. Computers are straightforward machines and computer security experts can assess how they
    work once they are provided with a list of components and a diagram specifying their
    interfaces. Computers follow straightforward logical algorithms based on electronic circuitry
    that speaks a language consisting of bits, that is, of ones and zeros, nothing more. Computer
    logs are automated messages that emanate from a wide variety of devices and applications.
    They typically include:
            a. a unique identifier for the source;
            b. a code that indicates whether attention to the message by a systems operator is
                urgent, given the activity detected at the source (“severity”);
            c. the name and/or IP address of the server or other device on which the source
                software is processed (the “host”);
            d. a timestamp that indicates when the activity occurred; and
            e. a message intended to be communicated to a systems operator by the author of the
                software.
    The message itself may have multiple fields, and combined they explain why the log was
    written. Most computing devices used by businesses come with logs preconfigured, so each
    business, in the course of constructing its systems environment, establishes a set of logs
    whether or not technology administrators have specifically configured them.
 5. Guidelines for cybersecurity evidence collection have been established by the National
    Institute of Standards and Technology in its: Guide to Integrating Forensic Techniques into



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     Incident Response.1 NIST recommends that computer forensic “guidelines and procedures
     should support the admissibility of evidence into legal proceedings, including information on
     gathering and handling evidence properly, preserving the integrity of tools and equipment,
     maintaining the chain of custody, and storing evidence securely” (NIST SP-800-86, p. 2-8).
     Procedures for data preservation are necessary to ensure that logs are available to be used by
     investigators in the event of an incident. Should an incident occur, industry standards instruct
     that several important steps should be taken. These are (NIST SP-800-86, p. 3-4):
             a. develop and implement a plan to archive logs and other relevant data;
             b. acquire and archive data specified by the plan;
             c. verify the integrity of the data archived by computing a message digest (also
                 known as a digital “fingerprint” because it uniquely identified a dataset) of both
                 the original and archived data; and
             d. document every step that was taken to collect the data, including information
                 about each tool used in the process, in sufficient detail to allow others to repeat
                 the process later if needed.
 6. Technology industry standards for evidence collection and examination have been stable
    since the time of the NIST publication in 2006, and it is reasonable for me to expect that a
    party conducting a cybersecurity investigation would have gathered evidence that includes all
    log data from possibly relevant sources in four major data categories: files, operating
    systems, network traffic, and applications (NIST SP-800-86, pp. ES-1, ES-2).
 C. HomeSource Deviation from Industry Standards
 7. In my Declaration, I stated that I based my first proposal for a shared protocol for evidence
    examination on the industry standard approach to cybersecurity forensics as described by
    NIST. That Declaration describes the reaction of HomeSource, specifically that HomeSource
    considered it unnecessary to follow industry standards. The Declaration states: “Although the
    assumptions and steps in the protocol were taken directly from the agreements during the
    meeting on November 14, HS counsel Arena instead proposed that the search be conducted
    solely by HS using a search tool she described as a ‘crude query.’ The crude query allowed
    entry of IP addresses and output of IP addresses, without addressing any of the industry
    standard steps in my draft protocol” (Doc. No. 50-2, PageID: 612-613). The Declaration
    also observed: “At that meeting, Arena also informed us that the web server log data set was
    so large it was not practical to reproduce it, and that she would get back to us on how it was
    preserved” (Doc. No. 50-2, PageID: 620).
 8. On December 19, HomeSource’s expert, Kevin Tuten, informed me that a copy of the
    HomeSource web log server had been made using Amazon Web Services snapshots. We
    discussed how to perform an examination of the evidence chain of custody in that context. I
    sent him a diagram and few screenshots from my own Amazon Web Services environment to
    illustrate a feasible approach. These are in Attachment A. Tuten sent return email with
    redacted screenshots of the Home Source log copy process, showing the steps followed by
    HomeSource within Amazon Web Services. An excerpt from that email is in Attachment B.
    In the email, Tuten asks me to “double check that HS didn’t miss anything needed for Chain
    of Custody.” At the time, I responded verbally that we would have several issues with the
    emailed chain of custody demonstration:

 1
  NIST Special Publication (SP) 800-86 (2006),
 https://nvlpubs.nist.gov/nistpubs/Legacy/SP/nistspecialpublication800-86.pdf.

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           a. we had no system diagram nor configuration of log sources, so we did not have a
               method to verify that logs were sent to the original server;
           b. the name of the original server identifier was redacted on the screenshots, so we
               would not be able to tell what data was copied to the device in the screenshot; and
           c. the screenshots show that the copy occurred on December 7, so we did not have
               the method by which log integrity was preserved between August and December.
    To date, the web application logs have not been made available to me. I have no update on a
    method by which the chain of custody issues may be addressed.
 D. Lack of Evidence
 9. Section 1 of the Letter states that: “HomeSource has already produced to RWS (in September
    and December 2018) evidence of the cyberattacks that it may introduce at trial and the
    documents that HomeSource relies on to support its allegations in the complaint.” (Doc. No.
    56, PageID: 697.) That statement has no basis in any evidence made available to me. I have
    seen no actual logs, nor evidence that there is a chain of custody or preservation of integrity
    between the alleged logs and the alleged search results.
 10. As of Friday March 8, 2019 and as emphasized in footnote 1 of the Letter (Doc. No. 56,
     PageID: 697), the only evidence that had been made available in this case was:
             a. a set of extracts from web log records alleged to be output from searches on
                 HomeSource web server logs using IP addresses as search input (“Search Hits”);
                 and
             b. a subpoena to GoDaddy with a list of IP addresses with no explanation of what
                 investigation was done to produce the list.
     On Friday, March 8, 2019, HomeSource sent an email to RWS counsel with an additional
     claim of evidence in documents that displayed a set of malformed URLs and a screenshot of
     the search software in use. None of the IP addresses in the documents delivered on March 8
     belong to RWS and none were the same as those previously delivered in the Search Hits or
     GoDaddy subpoena.
 11. The only mention in case materials that I have found for the origin of the Search Hits was in
     the Certification of James White in Support of the Plaintiff’s Opposition to Defendant’s
     Motion to Seal (filed on February 19, 2019, Doc. No. 58-1) (“White Certification”). In that
     document, White states that HomeSource subpoenaed four companies for IP addresses
     associated with the user account of James Kane (Vimeo in paragraph 5, LinkedIn in
     paragraph 9, Google in paragraph 10, and Cox in paragraph 22). Concerning the Search Hits,
     White writes: “HomeSource was then instructed to search our logs for this IP address, so that
     the associated data could be produced to RWS’s counsel in discovery. We did so.” (White
     Certification paragraph 7). Note that the White Certification identifies only one IP address,
     but the Search Hits file RWS received based on that search contains 157 unique addresses.
     Although two others are recognizable to RWS Counsel as IP Addresses attributable to the
     home network James Kane and Jennie Gilbert at that time. HomeSource has provided no
     claim of evidence that the other 154 IP Addresses in the Search Hits file represent activity
     conducted by RWS. In the Search Hits for August 2018, only 199 are attributable to RWS.
     This level of traffic is consistent with market research activity in which RWS admits to have
     been engaged.
 12. Footnote 1 of the Letter refers to a Distributed Denial of Service (DDoS) attack (Doc. No.
     56, PageID: 697). A DDoS attack is accomplished by consuming network or system

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     resources, typically by sending large amounts of data that overwhelms computing resources.
     Technology industry standards for investigating DDoS attacks make use of network device
     logs. Where a DDoS attack is aimed at a web server (such as that owned by HomeSource),
     the Multi-State Information Sharing and Analysis Center advises DDoS investigators to look
     for patterns of malicious traffic as follows: “An HTTP GET Flood occurs when an attacker,
     or attackers, generate a significant number of continuous HTTP GET requests for a target
     website in an attempt to consume enough resources to make the server unavailable for
     legitimate users. In this case, the attacking IP addresses never wait for a response from the
     target server, despite the server attempting to respond to all incoming requests. This results
     in connections being left open on the web server.”2 The document then advises to
     “investigate network logs and look for a large number of inbound traffic from a significant
     number of source IP addresses.”
 13. HomeSource has claimed such disruption at the hands of RWS, and has also claimed that it is
     not possible to separate malicious traffic from non-malicious traffic in their logs. The
     industry standard term DDoS does not refer to a method of causing unspecified damage that
     cannot be identified as malicious. Nevertheless, Section 1 of the Letter states that
     HomeSource logged 6 million records and 99% of them are not relevant to the case. (Doc.
     No. 56, PageID: 696.) That implies that HomeSource has determined that ~60,000 of its
     records are relevant to the case, but there are no indications of an investigation that revealed
     that this number of records are malicious, not even in the form of an approximation. As noted
     above, a DDoS attack is characterized by an attempt to overwhelm system resources. If one
     were to assume that there had been a DDoS attack that made use of 60,000 website requests
     that could not be distinguished from normal traffic, then the size of each request would have
     to be indistinguishable from the size of a normal web server request. There is no fixed limit
     on web server requests, but there is an observed maximum size accepted by many web
     servers of ~8,000 bytes.3 If we were to assume (i) a generous size estimate of 8,000 bytes per
     “normal” request and (ii) all of the RWS IP records in the Search Hits for August 2018 were
     attempts to maximize computing resource consumption (199), then RWS would have
     consumed only 1,592,000 bytes, or 1.5MB (See Figure 1). This is not enough data to
     overwhelm the computing resources of a typical eCommerce web server. For comparison’s
     sake, the size of an average email is 75KB.4 Assuming 8,000 bytes for each of the 199 visits
     attributed to RWS in August 2018, this means the alleged RWS traffic volume is the
     equivalent of ~21 emails. HomeSource has not presented any method or evidence by which
     RWS’s attributable traffic could have caused the alleged DDoS. Indeed, HomeSource has not
     presented any evidence that any of the RWS visits to its customers’ websites have caused any
     damage or disruption of any kind.
                         Figure 1: Example Estimated Maximum Size of RWS Traffic




 2
   Myers, L. (2017). Guide to DDOS Attacks. (Doc. No. 31, PageID: 290; see also https://www.cisecurity.org/wp-
 content/uploads/2017/03/Guide-to-DDoS-Attacks-November-2017.pdf, Multi-State Information Sharing and
 Analysis Center, p. 10).
 3
   See for example: https://stackoverflow.com/questions/2659952/maximum-length-of-http-get-request.
 4
   See: https://www.lifewire.com/what-is-the-average-size-of-an-email-message-1171208.

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 14. Section 1 of the Letter states that there is evidence of attacks in a subpoena to GoDaddy.
     (Doc. No. 56, PageID: 697, footnote 1.) I reviewed both that subpoena (Doc. No. 59-1) and
     its response (there is no document number on the GoDaddy response, so I have attached it to
     this report as Attachment C). The data in the subpoena is a list of timestamps and IP
     addresses. None of the IP addresses belong to RWS and none of them appear in the Search
     Hits. GoDaddy’s response to the subpoena stated simply that they “were unable to locate any
     specific user level request associated to the activity.” Nevertheless, in its Second Amended
     Complaint, HomeSource claims that: “GoDaddy has informed HomeSource that GoDaddy
     cannot identify John Doe, because the GoDaddy account was compromised at the time the
     attacks occurred.” (Doc. No. 54-2, paragraphs 59-60.) There is a very big difference between
     “unable to locate any specific user level request” and “account was compromised.”
     According to GoDaddy’s written response, GoDaddy did not even associate the activity with
     any account, much less identify an account that was compromised. The statement that there is
     evidence of attacks in the subpoena to GoDaddy has no basis in any evidence made available
     to me.
 15. In the Second Amended Complaint, HomeSource claims that: “Through discovery,
     HomeSource learned that RWS designed and deployed software (“spiders” or “web
     crawlers”) to monitor and download information from HomeSource’s websites for the
     purpose of disrupting HomeSource’s business and to gain an unfair competitive advantage.”
     (Doc. No. 54-2, paragraph 57). However, the only evidence that contains a reference to
     spider activity is a device type field in the Search Hits. In August 2018, there was one record
     that included both an RWS IP address and a device type: spider. The timestamp on that
     record is August 13, three days after the alleged start of the first DDoS attack. Use of a spider
     program to inspect (“crawl”) a competitor website is a common occurrence on the Internet
     and is consistent with market research activity admitted by HomeSource. HomeSource has
     provided no evidence linking this record or any item identified in discovery to a “purpose of
     disrupting HomeSource’s business and to gain an unfair competitive advantage.”
 E. Concessions on Industry Standards
 16. Section 3 of the Letter claims a causal connection between the format of HomeSource web
     logs and the difficulty of coming up with a search protocol. (Doc. No. 56, PageID: 698.) My
     description of my efforts to agree on a search protocol in my Declaration never once
     mentioned expected difficulty in performing a web log search. Again, I am a systems
     architect, programmer, and analyst with three decades of experience. I am not daunted by
     unfamiliar technology. Data structures are not mysterious objects, they are simply methods of
     organizing sets of bits.
 17. In fact, I was directed by RWS counsel to make as many concessions as I could in order
     simply to gain assurance that the data jointly searched by the experts would be recognizably
     the same if it was searched by HomeSource at a later date. That is, RWS withdrew all
     requirements to follow industry standards for connecting the data to a system of interest, and
     withdrew all requirements for proof of a data custody chain from that systems of interest in
     the interest of reaching a compromise to allow a joint search for RWS IP addresses in
     HomeSource logs. RWS was interested in simply capturing a digital fingerprint of the
     searched logs and results so I could prove that subsequent searches of the same logs in the
     same manner would yield the same result.



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 18. As I described in my Declaration, the situation that led to a conversation with Jim White was
     not related to the search tool. It was prompted by the fact that the draft protocol at that time
     specified that the joint search would be done with both experts in the same physical location.
     Because HomeSource would not allow me to have direct access to the data, we compromised
     on being in the same room with the person doing the search. This was to enable me to
     oversee the search and the production of the data integrity fingerprint with minimal concern
     that the IP list would be compromised or the search environment altered without my
     knowledge. The relevant excerpt from my Declaration is (Doc. No. 50-2, PageID: 612-613):
     “However, again the document was rejected by HS. Tuten let me know that he thought a
     major issue was the cost of his travel to the NJ offices of HS’s counsel. He set up a call with
     Jim White of HS for later that afternoon.” I did not volunteer to travel to Tuten’s office in FL
     because the case is venued in NJ, and Tuten expressed a willingness to travel. Had
     HomeSource funded Tuten’s trip to NJ, we could have executed the search as previously
     agreed.
 19. In my Declaration, I described the conversation with White as follows (Doc. No. 50-2,
     PageID: 612-613): “I explained to Jim <White> that my only objective in being physically
     present during the search was to have information on which I could opine. I explained that if
     I had no direct access to the environment under scrutiny, I could not personally opine to the
     validity of any actual evidence, just to the fact that I saw images on screen that could have
     been produced via PowerPoint and that any opinion I gave would be the equivalent of saying
     that I watched a movie. But if I could see how the machines were interacting and could have
     the ability to type commands and queries myself, I could collect enough information to
     determine how the technology was actually working, and thereby be able to endorse the
     validity of the search result. At first White objected that, as agent of RWS, I could not be
     trusted not to steal trade secrets that may be stored in the search environment….” White
     agreed on the phone to the final protocol that I then drafted, but withdrew his agreement later
     without explanation. I was told that the protocol was rejected, but not, as described in Section
     3 of the Letter, because it was “unworkable.” Again, how computers “work” is not a mystery.
     HomeSource had previously told me that their search tool was Amazon Elastic Search. The
     protocol included a statement that HomeSource would teach Tuten and me how to use the
     search tool, but that was not an admission on my part that I could not figure out how to use
     Amazon Elastic Search. Logs of this type are not complex nor complicated. My submission
     to training was made because of hesitation on the part of HomeSource to allow me to use the
     search tool at all. White expressed concern that our query results may not work. Hence it was
     agreed both experts would use the search tool after preliminary instruction.
 F. Explanation of HomeSource Productions
 20. The screenshot provided in HomeSource’s Friday, March 8 production reveals the existence
     of an industry standard, user-friendly, and well-known search tool,         , that is being used
     to search HomeSource’s logs. This existence of this query facility lays to rest the notion that
     the data would be hard to interpret, as claimed in Section 3 of the Letter.
 21. HomeSource made it difficult to agree on a protocol because they resisted sharing any
     information about the system of interest and the source of the logs, and did not to allow me to
     directly examine its evidence. This is the equivalent of a medical doctor being asked to opine
     on a patient’s condition without access to either the patient or the medical chart. To think that
     anyone would be able to understand results from a log search although they have not been
     given information describing the system of interest would be equivalent to asking a doctor to

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        evaluate a patient’s health based on the patient’s weight, with no corresponding information
        on the patient’s physical condition, height, metabolism, or medical history. This is true even
        though there is nothing as mysterious about computer operation as there is about human
        biology.
 22. The evidence provided by HomeSource has so far been equivalent to a claim that a patient
     has been adversely impacted by a fever of 98.7 degrees Fahrenheit because 98.6 is the
     established average, though in fact what is normal for any given person can range from 97 to
     99.5 This analogy is intended to communicate that HomeSource has sent data in the March 8
     production that looks slightly unusual, but in isolation is not known to be directly correlated
     with poor systems health. It is my experience, and that of my peers and graduate students,
     that once a website is published on the Internet, it immediately becomes the target of
     cyberattack. It used to be the case that a professor had to cause malicious activity in order for
     a student to observe it. Now, we just wait for the attacks to occur. Even if there was
     malicious activity directed specifically against HomeSource, it is not reasonable to expect
     that such evidence would be recognizable as a targeted attack without context. Moreover,
     because the data is unconnected with a description of its source, it is as if a patient’s
     temperature was delivered to a medical expert without disclosing any description of the
     patient’s physiology, any other symptoms, known prior conditions, results of medical
     examinations performed, whether or not any blood tests or other diagnostics were run, nor
     allowing the expert to see the patient, read the chart, or calibrate the thermometer. A
     statement that the computer output disclosed in this case is connected with damage to an
     unseen system has just as little basis as the claim that the slightly elevated fever has caused
     significant medical impact to an unseen patient. The admission that the search results cannot
     be understood without explanation to be provided by the plaintiff is an admission that
     evidence has been withheld or was not captured by HomeSource.
 23. Section 3 of the Letter quotes a section of my Declaration concerning an initial analysis of
     the Search Hits wherein I wrote that there was: “no evidence of any IP address in the log
     accessing any site as an authorized user;” and “no evidence of hiding IP addresses” (Doc.
     No. 50-2, PageID: 631). The Letter calls my words “baseless.” In fact, these words are based
     on my knowledge of how web servers typically produce and store logs, in combination with
     technology industry standards for forensic evidence. Specifically, web server logs store
     requests made by users, but not the response to the request. By design, they do not expose the
     application logic behind the request processing. The additional explanation needed to
     understand what underlying activity is represented by a web log would be a detailed diagram
     of how the web request is interpreted and processed by a business software application. The
     business application software would typically query a database before providing a response
     back to the web server, which in turn passes data to the user. A simplified version of such a
     control flow is called a “message sequence diagram,” because it refers to the content and
     sequence of information expected to be passed between integrated systems. An example of a
     message sequence diagram is included in Attachment D. From this type of diagram, it is clear
     that a business software application may also produce logs which would be relevant to
     interpreting the strings of data in a web server request passed to it.
 24. Section 3 of the Letter also implies that, although there is no way to separate benign from
     malicious traffic in the logs, a HomeSource employee will be able to make a determination
     that the logs show malicious activity. (Doc. No. 56, PageID: 698.) There is a statement that

 5
     See https://www.mayoclinic.org/first-aid/first-aid-fever/basics/art-20056685.

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    “RWS apparently thinks that there is no ‘smoking gun.’” The statement implies that a
    HomeSource employee can see a smoking gun. The Letter acknowledges that a HomeSource
    employee could link a website request that contains an IP address to malicious behavior, and
    that the explanation may be expected to be provided in a deposition. This is inconsistent with
    HomeSource‘s repeated claim that there is no way to separate benign from malicious traffic
    in their logs. If an employee can explain why a log entry represents malicious activity, then
    both the complete set of log entries that correspond to the activity, and the evidence that the
    employee relies upon in the explanation can be produced. I can only conclude that
    HomeSource’s refusal to share its alleged evidence is the reason why I am unable to
    independently recognize what they see as malicious traffic in the data strings associated with
    RWS IPs, unless such malicious traffic does not exist.
 G. Consequences of HomeSource’s Lack of Evidence
 25. If RWS were to follow the advice in Section 3 of the Letter to ask a “HomeSource employee
     to sit down in a deposition and walk RWS’s counsel and RWS’s expert through the RWS IP
     search results line by line, and explain what they mean,” then that employee would be asked
     to describe the forensic evidence preservation plan, the archived data chain of custody, the
     data flow between systems processing malicious requests, and describe the logs that would
     have been revealed in the joint search that was anticipated to occur in discovery. Questions
     would be asked about the ingress network traffic route that is directed to the network port on
     which the web server is configured to listen, the functionality of the program identified in the
     request URL, the input expected to be posted by the user to the program and how it differs
     from the input in normal traffic (if at all), a description of the application that processed the
     request in the log record, the response to the request (to include any negative impact that
     HomeSource experienced in the course of processing the request), and the network egress
     paths by which data is provided back to the requestor. If HomeSource has documented its
     systems data flow and forensics investigation process, then the answers to most of these
     questions could have been provided in response to the discovery request for: “All documents
     relied upon by HomeSource to support its allegations in the Complaint.”
    Most importantly, the explanation would include a description of damage to HomeSource
    caused by one or more malformed or otherwise malicious web requests. The admission that
    this explanation is necessary to enable RWS to properly interpret the evidence is also an
    admission that there is evidence missing from HomeSource’s production of its discovery.
 26. The lack of a clear specification on what constitutes malicious traffic is the reason why RWS
     does not want to disclose its full list of IP addresses. Unless the disclosure can be done in
     conjunction with a method of digitally fingerprinting (i) searched logs and (ii) results of
     searches using those IP addresses, then there would be no method to verify the integrity of
     the searched logs, and the logs could be altered after the IP addresses are disclosed.
 27. The RWS resistance to disclose its IP address list is also justified by its claim that its
     business will be impacted by having to replace its confidential IP addresses once disclosed.
     Even though some may think, as Jim White claims in the White Certification, “it costs
     pennies (little to no money) for a company like RWS to obtain a new IP address,” but any
     change to technology impacting network configuration requires careful planning, and every
     technology change costs something. When IP addresses change that support production
     systems, work must be done to ensure there is no impact to business data flow while the


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 Attachment A: Excerpt of Email to Tuten with Example Data Preservation
 Evidence




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 Attachment B: Excerpt of Email From Tuten with HomeSource Screenshots




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 Attachment C: GoDaddy Response to Subpoena in Doc. 59 Ex. 1




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 Attachment D: Example Message Sequence Diagram




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 Attachment E: Bayuk Resume
                                            JENNIFER L. BAYUK
 PROFILE     Experienced in leading, managing and measuring large-scale technology risk management programs.
             Skilled in system security architecture, cloud security strategies, information security tools and
             techniques, cybersecurity forensics, audit of information systems and networks, technology risk and
             performance indicators, security risk awareness education, risk management training curriculum, and
             systems engineering research. Masters degrees in Philosophy and Computer Science. Ph.D. in Systems
             Engineering. Certified in Information Systems Audit, Information Systems Security, Information
             Security Management, and IT Governance. NJ Licensed Private Investigator.
 EDUCATION
 PhD Systems Engineering, Stevens Institute of Technology, 2012, Thesis: Measuring Systems Security, GPA 3.9.
 MS Computer Science, Stevens Institute of Technology, 1992, GPA 3.9.
 MA Philosophy, The Ohio State University, 1986, GPA 3.5.
 BA Computer Science & Philosophy, Rutgers College, Rutgers, the State University of NJ, 1985, GPA 3.59.
 CERTIFICATIONS
 Certified Information Systems Auditor (CISA), 1996+
 Certified Information Security Manager (CISM), 2002+
 Certified in the Governance of Enterprise IT (CGEIT), 2008+
 Certified Information Systems Security Professional (CISSP), 2008-2013.
 TECHNOLOGY
 Software Architecture: Current: Cloud Applications with Multi-tier Security, Past: Including but not limited to:
   Three-tier Web applications, Third Party Risk Management Systems, Identify and Access Management Systems,
   Software inventory and Control Systems, Expert Systems for Telecommunications Maintenance
 Programming Language: Current: Java, Python, Linux shell, Past: Including but not limited to: C, C++, C#, LISP
 Tools: Including but not limited to: Report writers in API and GUI interfaces, Various SDLC Tools, Vitech CORE
   and similar systems engineering tools, Encase and similar forensics tools, WireShark and similar network analysis
   tools, SSH, RDP, Citrix, and other remote access tools, Adobe Suite, Visio, Camtasia, MS Office, Google Docs
 Databases: MongoDB, Oracle, PostgreSQL, MySQL, Sybase, Access
 Cloud Administration: AWS, GCP, O365
 Operating Systems: Linux, Windows, ChromeBook, past: OS390, iSeries, Solaris, AIX
 Business Applications: I have operated and administered dozens of business data automation applications, and
   frequently served as business data owner to ensure technical specifications met business requirements
 BOOKS
 December 2018         Financial Cybersecurity Risk Management, coauthor, Springer Apress.
 April 2012            Cyber Security Policy Guidebook, as lead of five authors, combined different areas of
                       cybersecurity policy expertise into a comprehensive guide, Wiley.
 September 2010        CyberForensics, Understanding Information Security Investigations, edited this collection of
                       articles by industry experts and provided an introductory framework, Springer.
 January 2010          Enterprise Security for the Executive: Setting the Tone at the Top, Praeger.
 March 2009            Enterprise Information Security and Privacy, Artech House, co-edited this collection of
                       srticles, and wrote chapter on “Information Classification.”
 November 2007         Stepping Through the InfoSec Program, Information Systems Audit and Control Association
                       (ISACA), internationally peer-reviewed book.
 January 2005, 2000 Stepping Through the IS Audit, A Guide for Information Systems Managers, 2 nd Edition.
                       Book published by ISACA and peer-reviewed. 1st Edition published in January 2000
 Cybersecurity Risk Management Consultant, New Jersey, 6/08 to present
     Engaged in a wide variety of projects ranging from policy and metrics for financial institutions to research in
     systems security engineering for government contractors. Develop systems security architecture. Perform
     cybersecurity risk and regulatory compliance assessments. Develop and teach courses in various aspects of
     cybersecurity for academic institutions and industry associations. Lecture at conferences. Participate in public
     and private security-related committees. Assist entrepreneurs on Cybersecurity Architecture, Technology Risk
     Management, and secure Cloud and Mobile requirements. Provide expert witness and legal consulting services.
     Exemplar projects:

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          Quinnipiac University, Hamden, CT, 1/19-present.
          Created a new graduate laboratory course in Operating Systems Security for the School of Engineering,
          including instruction on how to create virtual operating systems in Amazon Web Services, to administer.
          Linux and Apache Web Server Security, and conduct forensics investigations in the Amazon Cloud.
          Created plan to establish a cloud-based cybersecurity laboratory. Current adjunct professor.
          Stevens Institute of Technology, Hoboken, NJ, 9/09-present.
          Created a new graduate curriculum in cybersecurity for the School of Systems and Enterprises, including
          four new courses in systems security architecture and engineering. Led research projects in systems
          security engineering, including a research roadmap for the Department of Defense Systems Engineering
          Directorate. Created a systems security engineering laboratory. Current adjunct professor.
          Decision Framework Systems, Towaco, NJ, 01/18-present.
          Designed, developed, and implemented FrameCyber, a complete cybersecurity risk management life cycle
          system. FrameCyber is a cloud software product designed to be used continuously with full retention of
          data and actions. It includes functions for cybersecurity risk assessment, event tracking, issue management,
          organization inventory, control inventory, risk registration, risk analysis, risk reporting, risk measures and
          metrics, and associated correlation of information and data in those domains required to perform
          cybersecurity risk management. Manage all aspect of the company, including legal, finance, customer
          support, marketing and engineering.
          Information Systems Audit and Control Association (ISACA), 3/09-present.
          Develop and teach courses on emerging topics in cybersecurity and technology risk and controls.
          Institute for Defense Analysis, Washington, D.C., 6/18
          Cybersecurity subject matter expert participant in an initiative to maintain the U.S. science and technology
          advantage in air defense of the Nation, “Air Force Science and Technology Strategy 2030.” The initiative
          was administered by Institute for Defense Analysis for the Air Force Research Laboratory.
          G. A. Baird Partners & Co, Stamford, CT, 6/17-11/17.
          Created Cybersecurity and Technology Risk tools, techniques, and programs for a de novo peer-to-peer
          Bank. Specified systems security architecture for Digital Banking Architecture and Third Party Integration,
          focused on Cloud and Mobile Security Technologies.
          Delta Risk, Chicago, IL, 7/09-1/13.
          Provided business requirements, testing, and analysis for Securities Industry and Financial Markets
          Association (SIFMA) Quantum Dawn Cybersecurity Exercises. Assisted in the development of DECIDE
          simulation environment for experiencing cyber attack scenarios, and the scenarios used by SIFMA.
 Managing Director, Cybersecurity Governance, Risk &Control, JPMorgan Chase, NY, NY, 10/16 to 6/17.
     Designed, managed, and measured a Cybersecurity Risk Management framework in support of $600M
     Firmwide Cybersecurity Program. Managed the evolution of cybersecurity and technology risk policies and
     standards in coordination with cybersecurity product managers and the broader Technology Control
     organization. Globally coordinated cybersecurity regulatory, audit, client, and partner engagement in
     coordination with Technology Control and Cybersecurity Regional leads. Managed firmwide governance and
     control processes applicable to the Cybersecurity organization, including but not limited to risk and control self-
     assessment, resiliency and recovery, issue management, third party oversight, and inter-affiliate agreements.
 Managing Director, Operational Risk Management, Citi, New York, NY, 3/13 to 10/16.
     Coordinated activities within first and second lines of defense to identify, measure, monitor, and manage key
     operational risks within Citi’s Enterprise Operations and Technology (O&T) division in accordance with
     firmwide Policies and Procedures. Defined roles and responsibilities, developed procedures, guidelines, and
     training to support forward-looking risk identification, address control weaknesses, leverage best practices, and
     enforce consistent risk containment throughout the firm. Proactively engaged individuals at all levels of
     management to understand and assess both inherent and residual risk due to business dependency on technology
     and centralized operations such as Human Resources and Financial Services. Participated in risk-related forums
     such as the firm’s Information Security Committee, Fraud Oversight Committee, and Business Risk and Control
     forums. and tracked issues. Devised and directed the development of Technology Oversight Procedures and
     Technology Metrics used firmwide for BASEL management control assessment and operational risk analysis.
 Senior Managing Director, CISO, Bear Stearns & Co., Inc., Whippany, NJ, 4/98 to 6/08.
     Designed and implemented firmwide processes to protect, detect, and recover from harm to information.
     Devised tools, techniques, roles, responsibilities, and awareness materials for all security processes including
     digital identity, application inventory and cybersecurity incident investigation. Established and maintained

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     enterprise-wide security, change control, and business continuity metrics. Chair of the Firmwide Information
     Protection Committee and member of the Global Outsourcing and Firmwide Emergency Response Committees.
     Issued global security policies and processes. Provided technical requirements and test programs for new
     security products and security features of new applications. Directed information security investigations and
     remediation activities in coordination with human resources, legal and compliance. Coordinated emergency
     response teams for information security related events. Reviewed physical security efforts in support of data
     center protection. Contracted and managed penetration tests. Guided management through information
     technology (IT) audits. Performed due diligence in support of merger, acquisition, research analyst, and
     investment banking activity. Testified on due diligence efforts when required by regulators. Directly managed
     department budget (~3M) and security tollgates over all projects in IT budget (~600M).
 Manager, Information Systems Business Controls, AT&T Capital Corporation, Morristown, NJ, 2/97 to 4/98.
     Led and executed the company’s global internal audit and control assessments with respect to information
     systems. Conducted security investigations. Provided direction and guidance on systems control issues for the
     company’s strategic leaders, including the Technology Leadership Team and corporate legal counsel.
     Developed COSO & COBIT compliant systems audit approach for AT&T Capital that includes quantitative
     communication of systems vulnerabilities. Evaluated and developed tools for operating system, database
     management system, and network security testing as well as data analysis, incident tracking, and reporting.
 Information Systems Risk Manager, Price Waterhouse LLP, Morristown, NJ, 1995 - 1997.
     Managed a wide variety of security consulting and audit projects for the Price Waterhouse Information Systems
     Risk Management Practice, including penetration tests and physical infrastructure reviews. Performed systems
     infrastructure analysis directed at improving technical security architecture, security management processes,
     and information system operational risk management. Developed methodology for evaluating the effectiveness
     of security management processes and trained both consultants and senior managers on its use. Wrote and
     customized programs for security testing. Evaluated various types of commercial security software.
 Information Security Technical Staff, AT&T Bell Laboratories, Holmdel, NJ, 1990 - 1995.
     Led diverse, cross-organizational teams focused on security and data integrity, including the AT&T Network
     Security Requirements Team, the Security Analysis of the Network Environment Team, and the Security
     Assessment Team. Envisioned, designed, specified, developed, demonstrated, tested, and documented software
     for expert systems, graphical user interfaces, databases, and network monitors. Spent most of the last year at
     AT&T with the CFO Organization in Short Hills performing computer security audits and corporate security
     consulting for various systems comprising and supporting the AT&T Worldwide Intelligent Network.
 COURSES DEVELOPED, LISTED BY INITIAL LAUNCH
 February 2018 Operating System Security in Amazon Web Services, Lab Course at Quinnipiac University
 September 2018 Risk Management for Financial Cybersecurity, Stevens Institute of Technology
 June 2018         Technology’s Role in Enterprise Risk Management, ISACA, NJ Chapter
 June 2015         Loss Capture for Technology-Related Events, Citigroup Internal Online Training.
 January 2015      Technology Oversight Procedures, Citigroup Internal Online Training.
 August 2014       Manager’s Control Assessment, Citigroup Internal Online Training.
 June 2014         Information Security Architecture, Citigroup Internal Online Training.
 November 2013 Information Security Metrics, Citigroup Internal Online Training.
 March 2012        System Security Management, Univ of Virginia’s Accelerated Master's in Systems Engineering.
 June 2012         Information Security Governance at Board Level, seminar for ISACA & IIA NJ Chapters.
 April 2012        Security Documentation, ISACA Philadelphia & New Jersey Chapters Spring Conference.
 Spring 2011       Systems Security Architecture and Design, Stevens Institute of Technology
 Spring 2011       Fundamentals of Security Systems Engineering, Stevens Institute of Technology
 Spring 2011       Secure Systems Laboratory, Stevens Institute of Technology
 June 2010         Metrics That Actually Improve Security, Computer Security Institute.
 Spring 2009       Secure Systems Foundations, Stevens Institute of Technology
 March 2009        Information Security Metrics, ISACA, NY Chapter
 March 2009        Information Security Governance, ISCACA, NJ Chapter
 January 2009      Information Asset Classification, ISACA, NY Chapter.
 April 1998        CISA Exam Certification Course, Domain 4: Information Systems Integrity, Confidentiality, and
                   Availability, ISACA North Jersey Chapter (Also taught in April 1999 and April 2000).

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